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                        IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

In re:                              )
                                    )
SHILO DION SANDERS                  )     Case No. 23-14859-MER
                                    )
      Debtor.                       )     Chapter 7
                                    )
___________________________________________________________________________

     ORDER APPROVING TRUSTEE'S APPLICATION TO EMPLOY SHERMAN &
              HOWARD L.L.C. AS SPECIAL COUNSEL FOR THE
               TRUSTEE NUNC PRO TUNC TO AUGUST 5, 2024


      THIS MATTER comes before the Court upon Trustee’s Application to Employ Sherman
& Howard L.L.C. (“Sherman & Howard”) as Special Counsel for the Trustee Nunc Pro Tunc to
August 5, 2024 (the “Application”). The Court has examined the Application and the Verified
Statement of Peter A. Cal in Support of Trustee’s Application to Employ Sherman & Howard
L.L.C. as Special Counsel for the Trustee Nunc Pro Tunc to August 5, 2024.

      THE COURT FINDS that Sherman & Howard is disinterested and represents no interest
adverse to the estate with respect to matters within the scope of its retention, and Sherman &
Howard’s employment as special counsel is necessary and in the best interests of the Estate.

      IT IS THEREFORE ORDERED that the Application is GRANTED and David V.
Wadsworth, Trustee herein, is authorized to employ Sherman & Howard as special counsel for
the Trustee Nunc Pro Tunc to August 5, 20204, to provide the Services as defined in the
Application. All fees and expenses are subject to application to and approval by the Court.

         Dated: August 6, 2024.

                                            BY THE COURT:


                                            ___________________________________
                                            _____________________________
                                            Michael E. Romero
                                            United States Bankruptcy Court Judge
                                                                           Jud




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